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 8                            UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA                 )   Crim. Case No. 98CR0786-BTM
11                                             )
                        Plaintiff,             )   ORDER AND JUDGMENT TO
12                                             )   DISMISS THE INDICTMENT
            v.                                 )   AND RECALL ARREST
13                                             )   WARRANT
      BRUCE CRAIG FITZGERALD (2),              )
14                                             )
                        Defendant.             )
15                                             )
16 _____
            Upon application of the United States Attorney, and good cause appearing
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18 therefrom,
19          IT IS HEREBY ORDERED that the Indictment in the above-captioned case
20
      against BRUCE CRAIG FITZGERALD be dismissed without prejudice.
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22          IT IS FURTHER ORDERED that the arrest warrant be recalled in this matter.

23 Dated: May 12, 2016
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